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 1                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 2

 3   DANIEL VALENTI, Individually and on Behalf                Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
 4                                                             [PROPOSED] ORDER GRANTING
                                    Plaintiff,                 DEFENDANTS’ MOTION
 5
                                                               TO DISQUALIFY ROCHE
 6              v.                                             FREEDMAN LLP

 7   DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION and DOMINIC WILLIAMS,
 8

 9                                  Defendants.

10

11          This matter came before the Court on __________ on Dfinity USA Research, LLC,
12   Dfinity Foundation, and Dominic Williams (together, “Defendants”) motion to disqualify Roche
13   Freedman LLP from representing Lead Plaintiffs and the putative class in the above-captioned
14   case. Kyle Roche, a founding partner of Roche Freedman LLP, made certain statements, as
15   chronicled in an August 26, 2022 article titled Ava Labs (Avalanche) attacks Solana & cons SEC
16   in evil conspiracy with bought law firm, Roche Freedman (available at
17   https://cryptoleaks.info/case-no-3), which reveal that Mr. Roche breached California Rule of
18   Professional Conduct 1.7. This violation prevents Roche Freedman LLP from continuing as
19   counsel in this matter pursuant to California Rule of Professional Conduct 1.10. It is further
20   appropriate to order disqualification to protect the interests of the absent class, and because
21   disqualification would not prejudice Lead Plaintiff or the putative class.
22          Defendants’ Motion to disqualify Roche Freedman LLP is GRANTED.
23

24          Dated:
25

26
                                                                    Hon. James Donato
27                                                           United States District Court Judge
28


      [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISQUALIFY ROCHE FREEDMAN LLP
                                  CASE NO. 3:21-CV-06118-JD
